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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                    : Chapter 11
                                          : Case No. 11-11795 (KG)
PERKINS & MARIE CALLENDER’S INC., et al., : Jointly Administered
                                          :
     Debtors.                             : Related to D.I. _________

              ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY
                AS TO DWIGHT PORTER PURSUANT TO 11 U.S.C. § 362

         This matter came before the Court upon the motion of Dwight Porter (“Porter”) seeking

relief from the automatic stay pursuant to 11 U.S.C. § 362 (the “Motion”), as more fully set forth

in the Motion; and after due deliberation and sufficient cause appearing therefore,

         It is hereby ORDERED that:

         1. The Motion is hereby GRANTED in its entirety.

         2. The automatic stay is LIFTED so as to allow Porter to proceed against Perkins in

            litigation pending in the United States District Court in and for the Middle District of

            Florida (Ocala Division), the case being assigned No.: 5:11-cv-354-OC-10-DAB.

         3. Nothing contained in this Order prejudices, precludes and/or disposes of the claims of

            Porter against the Debtors

         4. This Court shall, and hereby does, retain jurisdiction with respect to all matters

            arising from or in relation to the implementation of this Order.



                                         ____________________________________
                                         HONORABLE KEVIN GROSS
                                         UNITED STATES BANKRUPTCY COURT JUDGE
